   Case 2:13-cv-20000-RDP Document 2735 Filed 06/01/21 Page 1 of 12                             FILED
                                                                                       2021 Jun-01 PM 04:52
                                                                                       U.S. DISTRICT COURT
                                                                                           N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION


 IN RE: BLUE CROSS BLUE SHIELD              Master File No. 2:13-CV-20000-RDP
     ANTITRUST LITIGATION
          (MDL No. 2406)                    This document relates to Provider-
                                            Track cases.

  EVIDENTIARY SUBMISSION IN SUPPORT OF DEFENDANTS’ MOTION
 REGARDING THE ANTITRUST STANDARD OF REVIEW APPLICABLE TO
  PROVIDER PLAINTIFFS’ SECTION 1 CLAIMS PURSUANT TO FEDERAL
                 RULE OF CIVIL PROCEDURE 56

                                                                             Sealing
 Exhibit*              Description                      Bates No.
                                                                             Status
               Evolution of the Blues – An
 DX283                                              BCBSA00025022             Public
              Emerging Concept (Oct. 1979)
            A History of the Development of the
 DX284                                              BCBSA00049174             Public
              Approval Program (Nov. 1951)
              List of Plans Approved by AHA
 DX285                                              BCBSA00070063             Public
                         (Apr. 1938)
             Blue Cross Commission Meeting
 DX286                                              BCBSA00109260             Public
                   Minutes (June 1947)
                Policy Letter and Report re:
 DX287       Licensing Agreement (Mar. 1952)        BCBSA00157045             Public
                        (excerpts)
               AMCP Commission Meeting
 DX288                                              BCBSA00194324             Public
                 Minutes (Dec. 1947)
             Blue Shield Commission Meeting
 DX289                                              BCBSA00194332             Public
                   Minutes (Mar. 1948)
            Draft Letter re: Blue Shield Symbol
 DX290                                              BCBSA00259485             Public
                        (Dec. 1947)
 DX291       AHA Journal Article (May 1952)         BCBSA00292962             Public


    *
      Defendants’ exhibits numbered 1–164 were filed with the prior Standard of Review
summary judgment briefing. Defendants’ exhibits numbered 165–282 were filed with the
Class Certification briefing.
  Case 2:13-cv-20000-RDP Document 2735 Filed 06/01/21 Page 2 of 12




                                                                       Sealing
Exhibit*               Description                     Bates No.
                                                                       Status
            Blue Shield Commission Meeting
DX292                                               BCBSA01133768      Public
                  Minutes (Apr. 1951)
             Hospital Service Corporation of
DX293          Alabama Meeting Minutes             BCBSAL_0000041070   Public
                       (Feb. 1936)
              Alabama Network Comparison
DX294                                              BCBSAL_0000450522   Sealed
                   Report (Jan. 2008)
              Alabama Network Comparison
DX295                                              BCBSAL_0000450528   Sealed
                   Report (Jan. 2008)
              Alabama Network Comparison
DX296                                              BCBSAL_0000581921   Sealed
                   Report (Jan. 2010)
              Alabama Network Comparison
DX297                                              BCBSAL_0000588158   Sealed
                   Report (Mar. 2008)
              Blue Cross and Blue Shield of
DX298       Alabama Staff Presentation (1975)      BCBSAL_0000755731   Public
                       (excerpts)
              National Network Comparison
DX299                                              BCBSAL_0000748805   Sealed
                   Report (Oct. 2011)
              National Network Comparison
DX300                                              BCBSAL_0000748838   Sealed
                   Report (Dec. 2011)
DX301            Alabama Trademark Use             BCBSAL_0001078082   Public
             The History of Blue Cross Blue
DX302       Shield of Alabama from a Medical       BCBSAL_0002071314   Public
            Director’s Perspective (Jan. 2009)
              9/20/2017 30(b)(1) Deposition
DX303      Transcript of Paula Taffe (Blue Cross        No Bates       Public
            Blue Shield Association) (excerpts)

             7/11/2017 30(b)(6) Deposition
            Transcript of Blue Cross and Blue
DX304                                                   No Bates       Public
           Shield of Alabama through Michael
                   Patterson (excerpts)




                                          2
  Case 2:13-cv-20000-RDP Document 2735 Filed 06/01/21 Page 3 of 12




                                                              Sealing
Exhibit*               Description                Bates No.
                                                              Status
              4/12/2017 30(b)(6) Deposition
           Transcript of Blue Cross Blue Shield
DX305                                             No Bates    Public
           Association through Melissa Rotunno
                         (excerpts)

              8/29/2017 30(b)(6) Deposition
           Transcript of Blue Cross Blue Shield
DX306                                             No Bates    Public
            Association through Kari Hedges
                         (excerpts)

              9/22/2017 30(b)(6) Deposition
            Transcript of BlueCross BlueShield
DX307                                             No Bates    Public
            of Mississippi through Bryan Lagg
                         (excerpts)

            2/15/2017 Deposition Transcript of
DX308       George Tickle (Cowin Equipment        No Bates    Public
                   Company) (excerpts)
            1/11/2021 Deposition Transcript of
DX309                                             No Bates    Public
                 H.E. Frech III (excerpts)
            5/7/2019 Deposition Transcript of
DX310                                             No Bates    Public
                 H.E. Frech III (excerpts)
            1/10/2021 Deposition Transcript of
DX311                                             No Bates    Public
             Deborah Haas-Wilson (excerpts)
            7/22/2017 Deposition Transcript of
DX312                                             No Bates    Public
                 Kevin Murphy (excerpts)
            1/7/2021 Deposition Transcript of
DX313                                             No Bates    Public
                 Daniel Slottje (excerpts)
            3/12/2021 Deposition Transcript of
DX314                                             No Bates    Public
                 Daniel Slottje (excerpts)
              10/5/2017 Hearing Transcript
DX315                                             No Bates    Public
                  (Proctor, J.) (excerpt)
           12/2/2020 Expert Rebuttal Report of
DX316        Providers’ Expert H.E. Frech III     No Bates    Public
                        (excerpts)
              Blue Cross and Blue Shield of
DX317                                             No Bates    Public
           Alabama Entity Registration Record



                                         3
  Case 2:13-cv-20000-RDP Document 2735 Filed 06/01/21 Page 4 of 12




                                                              Sealing
Exhibit*             Description              Bates No.
                                                              Status
            Ala. Code § 10A-20-6.01 (Acts
DX318                                         No Bates        Public
                        1935)
            Ala. Code § 10A-20-6.01 (Acts
DX319                                         No Bates        Public
                        1945)
DX320       Alabama Newspaper Samples         No Bates        Public

           4/27/2021 Blue Cross Blue Shield
DX321                                         No Bates        Public
             Association Board Resolution




                                       4
  Case 2:13-cv-20000-RDP Document 2735 Filed 06/01/21 Page 5 of 12




Dated: June 1, 2021                  Respectfully submitted,

                                     /s/ Evan R. Chesler
                                     Evan R. Chesler
                                     Christine A. Varney
                                     Karin A. DeMasi
                                     Lauren R. Kennedy
                                     David H. Korn
                                     CRAVATH, SWAINE & MOORE LLP
                                     Worldwide Plaza
                                     825 Eighth Avenue
                                     New York, NY 10019
                                     Tel: (212) 474-1000
                                     Fax: (212) 474-3700
                                     echesler@cravath.com
                                     cvarney@cravath.com
                                     kdemasi@cravath.com
                                     lkennedy@cravath.com
                                     dkorn@cravath.com

                                     Coordinating Counsel for Defendant
                                     Blue Cross and Blue Shield Association;
                                     Counsel for Defendants Blue Cross and
                                     Blue Shield of Alabama; Blue Cross and
                                     Blue Shield of Florida, Inc.; Blue Cross
                                     and Blue Shield of Massachusetts, Inc.;
                                     BlueCross BlueShield of Tennessee,
                                     Inc.; CareFirst, Inc.; CareFirst of
                                     Maryland, Inc.; Group Hospitalization
                                     and Medical Services, Inc.; CareFirst
                                     BlueChoice, Inc.; Health Care Service
                                     Corporation, an Illinois Mutual Legal
                                     Reserve Company, including its
                                     divisions Blue Cross and Blue Shield of
                                     Illinois, Blue Cross and Blue Shield of
                                     Texas, Blue Cross and Blue Shield of
                                     New Mexico, Blue Cross and Blue
                                     Shield of Oklahoma, and Blue Cross
                                     and Blue Shield of Montana; Caring for
                                     Montanans, Inc., f/k/a Blue Cross and
                                     Blue Shield of Montana, Inc.
  Case 2:13-cv-20000-RDP Document 2735 Filed 06/01/21 Page 6 of 12




Craig A. Hoover                                   David J. Zott, P.C.
E. Desmond Hogan                                  Daniel E. Laytin, P.C.
Justin Bernick                                    Sarah J. Donnell
Peter Bisio                                       Christa C. Cottrell, P.C.
Elizabeth Jose                                    Zachary Holmstead
HOGAN LOVELLS US LLP                              KIRKLAND & ELLIS LLP
Columbia Square                                   300 North LaSalle
555 13th Street, N.W.                             Chicago, IL 60654
Washington, DC 20004                              Tel: (312) 862-2000
Tel: (202) 637-5600                               Fax: (312) 862-2200
Fax: (202) 637-5910                               david.zott@kirkland.com
craig.hoover@hoganlovells.com                     daniel.laytin@kirkland.com
desmond.hogan@hoganlovells.com                    sarah.donnell@kirkland.com
justin.bernick@hoganlovells.com                   christa.cottrell@kirkland.com
peter.bisio@hoganlovells.com                      zachary.holmstead@kirkland.com
elizabeth.jose@hoganlovells.com
                                                  Kimberly R. West (Liaison Counsel)
John D. Martin                                    Mark M. Hogewood
Lucile H. Cohen                                   WALLACE, JORDAN, RATLIFF &
Travis A. Bustamante                              BRANDT, LLC
NELSON MULLINS RILEY &                            First Commercial Bank Building
SCARBOROUGH LLP                                   800 Shades Creek Parkway, Suite 400
1320 Main Street, 17th Floor                      Birmingham, AL 35209
Columbia, SC 29201                                Tel: (205) 870-0555
Tel: (803) 255-9421                               Fax: (205) 871-7534
Fax: (803) 256-7500                               kwest@wallacejordan.com
john.martin@nelsonmullins.com                     mhogewood@wallacejordan.com
lucie.cohen@nelsonmullins.com
travis.bustamante@nelsonmullins.com               Counsel for Blue Cross Blue Shield
                                                  Association
Cavender C. Kimble
BALCH & BINGHAM LLP
1901 6th Avenue North, Suite 1500                 James L. Priester
Birmingham, AL 35203-4642                         Carl S. Burkhalter
Tel: (205) 226-3437                               John Thomas A. Malatesta, III
Fax: (205) 488-5860                               MAYNARD COOPER & GALE PC
ckimble@balch.com                                 1901 6th Avenue North, Suite 2400
                                                  Regions Harbert Plaza
Counsel for Anthem, Inc., f/k/a WellPoint,        Birmingham, AL 35203
Inc., and all of its named subsidiaries in this   Tel: (205) 254-1000
consolidated action; Blue Cross and Blue          Fax: (205) 254-1999
Shield of North Carolina, Inc.; Louisiana         jpriester@maynardcooper.com
Health Service & Indemnity Company (Blue          cburkhalter@maynardcooper.com
Cross and Blue Shield of Louisiana);              jmalatesta@maynardcooper.com
BCBSM, Inc. (Blue Cross and Blue Shield of
Minnesota); Blue Cross and Blue Shield of         Pamela B. Slate
  Case 2:13-cv-20000-RDP Document 2735 Filed 06/01/21 Page 7 of 12




South Carolina; Horizon Healthcare            HILL CARTER FRANCO COLE &
Services, Inc. (Horizon Blue Cross and Blue   BLACK, P.C.
Shield of New Jersey); Blue Cross & Blue      425 South Perry Street
Shield of Rhode Island; Blue Cross and Blue   Montgomery, AL 36104
Shield of Vermont; Cambia Health Solutions,   Tel: (334) 834-7600
Inc.; Regence Blue Shield of Idaho; Regence   Fax: (334) 386-4381
Blue Cross Blue Shield of Utah; Regence       pslate@hillhillcarter.com
Blue Shield (of Washington); Regence Blue
Cross Blue Shield of Oregon                   With Cravath, Swaine & Moore LLP,
                                              counsel for Defendant Blue Cross Blue
                                              Shield of Alabama
Gwendolyn Payton
KILPATRICK TOWNSEND &
STOCKTON LLP                                  Helen E. Witt, P.C.
1420 Fifth Avenue, Suite 3700                 Jeffrey J. Zeiger, P.C.
Seattle, WA 98101                             Erica B. Zolner
Tel: (206) 626-7714                           KIRKLAND & ELLIS LLP
Fax: (206) 299-0414                           300 North LaSalle
gpayton@kilpatricktownsend.com                Chicago, IL 60654
                                              Tel: (312) 862-2000
J. Bentley Owens, III                         Fax: (312) 862-2200
ELLIS, HEAD, OWENS & JUSTICE                  hwitt@kirkland.com
113 North Main Street                         jzeiger@kirkland.com
Columbiana, AL 35051-0587                     ezolner@kirkland.com
Tel: (205) 669-6783
Fax: (205) 669-4932                        Kimberly R. West (Liaison Counsel)
bowens@wefhlaw.com                         Mark M. Hogewood
                                           WALLACE, JORDAN, RATLIFF &
Counsel for Defendants Premera Blue Cross, BRANDT, LLC
d/b/a Premera Blue Cross Blue Shield of    First Commercial Bank Building
Alaska                                     800 Shades Creek Parkway, Suite 400
                                           Birmingham, AL 35209
                                           Tel: (205) 870-0555
Brian K. Norman                            Fax: (205) 871-7534
SHAMOUN & NORMAN, LLP                      kwest@wallacejordan.com
1800 Valley View Lane, Suite 200           mhogewood@wallacejordan.com
Farmers Branch, TX 75234
Tel: (214) 987-1745                        Counsel for Defendants Health Care
Fax: (214) 521-9033                        Service Corporation, an Illinois Mutual
bkn@snlegal.com                            Legal Reserve Company, including its
                                           divisions Blue Cross and Blue Shield of
H. James Koch                              Illinois, Blue Cross and Blue Shield of
ARMBRECHT JACKSON LLP                      Texas, Blue Cross and Blue Shield of
RSA Tower, 27th Floor                      New Mexico, Blue Cross and Blue
11 North Water Street                      Shield of Oklahoma, and Blue Cross
Mobile, AL 36602                           and Blue Shield of Montana; Caring for
  Case 2:13-cv-20000-RDP Document 2735 Filed 06/01/21 Page 8 of 12




Tel: (251) 405-1300                           Montanans, Inc., f/k/a Blue Cross and
Fax: (251) 432-6843                           Blue Shield of Montana, Inc.; Highmark
hjk@ajlaw.com                                 Inc., f/k/a Highmark Health Services;
                                              Highmark West Virginia Inc.; Highmark
Counsel for Defendants CareFirst, Inc.;       Blue Cross Blue Shield Delaware Inc.;
CareFirst of Maryland, Inc.; Group            California Physicians’ Service d/b/a
Hospitalization and Medical Services, Inc.;   Blue Shield of California
CareFirst BlueChoice, Inc.

                                              Jonathan M. Redgrave
R. David Kaufman                              REDGRAVE, LLP
M. Patrick McDowell                           14555 Avion Parkway, Suite 275
BRUNINI, GRANTHAM, GROWER                     Chantilly, VA 20151
& HEWES, PLLC                                 Tel: (703) 592-1155
190 East Capitol Street                       Fax: (612) 332-8915
The Pinnacle Building, Suite 100              jredgrave@redgravellp.com
Jackson, MS 39201
Tel: (601) 948-3101                           Additional Counsel for HCSC and
Fax: (601) 960-6902                           Highmark Defendants
dkaufman@brunini.com
pmcdowell@brunini.com
                                              Todd Stenerson
John D. Martin                                SHEARMAN & STERLING LLP
Lucile H. Cohen                               401 9th Street, N.W., Suite 800
Travis A. Bustamante                          Washington, DC 20004
NELSON MULLINS RILEY &                        Tel: (202) 508-8000
SCARBOROUGH LLP                               Fax: (202) 508-8100
1320 Main Street, 17th Floor                  todd.stenerson@shearman.com
Columbia, SC 29201
Tel: (803) 255-9421                           Sarah L. Cylkowski
Fax: (803) 256-7500                           Thomas J. Rheaume, Jr.
john.martin@nelsonmullins.com                 BODMAN PLC
lucie.cohen@nelsonmullins.com                 1901 Saint Antoine Street
travis.bustamante@nelsonmullins.com           6th Floor at Ford Field
                                              Detroit, MI 48226
Cheri D. Green                                Tel: (313) 259-7777
BLUE CROSS BLUE SHIELD OF                     Fax: (734) 930-2494
MISSISSIPPI                                   scylkowski@bodmanlaw.com
P.O. Box 1043                                 trheaume@bodmanlaw.com
Jackson, MS 39215
Tel: (601) 932-3704                           Andy P. Campbell
cdgreen@bcbsms.com                            A. Todd Campbell
                                              Yawanna N. McDonald
Counsel for Defendant Blue Cross Blue         CAMPBELL PARTNERS LLC
Shield of Mississippi, a Mutual Insurance     505 North 20th Street, Suite 1600
Company                                       Birmingham, AL 35203
  Case 2:13-cv-20000-RDP Document 2735 Filed 06/01/21 Page 9 of 12




                                          Tel: (205) 224-0750
                                          Fax: (205) 224-8622
Michael A. Naranjo                        andy@campbellpartnerslaw.com
FOLEY & LARDNER LLP                       todd@campbellpartnerslaw.com
555 California Street, Suite 1700         yawanna@campbellpartnerslaw.com
San Francisco, CA 94104
Tel: (415) 984-9847                       Counsel for Defendant Blue Cross and
Fax: (415) 434-4507                       Blue Shield of Michigan
mnaranjo@foley.com

Alan D. Rutenberg                         John Briggs
Benjamin R. Dryden                        Rachel Adcox
FOLEY & LARDNER LLP                       Jeny M. Maier
3000 K Street, N.W., Suite 600            AXINN, VELTROP & HARKRIDER,
Washington, DC 20007                      LLP
Tel: (202) 672-5300                       1901 L Street, N.W.
Fax: (202) 672-5399                       Washington, DC 20036
arutenberg@foley.com                      Tel: (202) 912-4700
bdryden@foley.com                         Fax: (202) 912-4701
                                          jbriggs@axinn.com
Counsel for Defendant USAble Mutual       radcox@axinn.com
Insurance Company, d/b/a Arkansas Blue    jmaier@axinn.com
Cross and Blue Shield
                                          Stephen A. Rowe
                                          Aaron G. McLeod
Robert K. Spotswood                       ADAMS AND REESE LLP
Michael T. Sansbury                       Regions Harbert Plaza
Joshua K. Payne                           1901 6th Avenue North, Suite 3000
Jess R. Nix                               Birmingham, AL 35203
Morgan B. Franz                           Tel: (205) 250-5000
SPOTSWOOD SANSOM & SANSBURY               Fax: (205) 250-5034
LLC                                       steve.rowe@arlaw.com
Financial Center                          aaron.mcleod@arlaw.com
505 20th Street North, Suite 700
Birmingham, AL 35203                      Counsel for Defendant Independence
Tel: (205) 986-3620                       Blue Cross
Fax: (205) 986-3639
rks@spotswoodllc.com
msansbury@spotswoodllc.com                Kathleen Taylor Sooy
jpayne@spotswoodllc.com                   Tracy A. Roman
jnix@spotswoodllc.com                     Sarah Gilbert
mfranz@spotswoodllc.com                   Honor Costello
                                          CROWELL & MORING LLP
Counsel for Defendant Capital BlueCross   1001 Pennsylvania Avenue, N.W.
                                          Washington, DC 20004
                                          Tel: (202) 624-2500
 Case 2:13-cv-20000-RDP Document 2735 Filed 06/01/21 Page 10 of 12




Evan R. Chesler                                Fax: (202) 628-5116
Christine A. Varney                            ksooy@crowell.com
Karin A. DeMasi                                troman@crowell.com
Lauren R. Kennedy                              sgilbert@crowell.com
David H. Korn                                  hcostello@crowell.com
CRAVATH, SWAINE & MOORE LLP
Worldwide Plaza                                John M. Johnson
825 Eighth Avenue                              Brian P. Kappel
New York, NY 10019                             LIGHTFOOT FRANKLIN & WHITE
Tel: (212) 474-1000                            LLC
Fax: (212) 474-3700                            The Clark Building
echesler@cravath.com                           400 20th Street North
cvarney@cravath.com                            Birmingham, AL 35203
kdemasi@cravath.com                            Tel: (205) 581-0700
lkennedy@cravath.com                           Fax: (205) 581-0799
dkorn@cravath.com                              jjohnson@lightfootlaw.com
                                               bkappel@lightfootlaw.com
John D. Martin
Lucile H. Cohen                                Counsel for Defendants Blue Cross of
Travis A. Bustamante                           Idaho Health Service, Inc.; Blue Cross
NELSON MULLINS RILEY &                         and Blue Shield of Kansas, Inc.; Blue
SCARBOROUGH LLP                                Cross and Blue Shield of Kansas City;
1320 Main Street, 17th Floor                   Blue Cross and Blue Shield of
Columbia, SC 29201                             Nebraska; Blue Cross Blue Shield of
Tel: (803) 255-9421                            Arizona; Blue Cross Blue Shield of
Fax: (803) 256-7500                            North Dakota; Blue Cross Blue Shield
john.martin@nelsonmullins.com                  of Wyoming; Highmark Western and
lucie.cohen@nelsonmullins.com                  Northeastern New York Inc.
travis.bustamante@nelsonmullins.com

Robert R. Riley, Jr.                           David J. Zott, P.C.
RILEY & JACKSON, P.C.                          Daniel E. Laytin, P.C.
3530 Independence Drive                        KIRKLAND & ELLIS LLP
Birmingham, AL 35209                           300 North LaSalle
Tel: (205) 879-5000                            Chicago, IL 60654
Fax: (205) 879-5901                            Tel: (312) 862-2000
rob@rileyjacksonlaw.com                        Fax: (312) 862-2200
                                               david.zott@kirkland.com
Counsel for Defendants Blue Cross and Blue     daniel.laytin@kirkland.com
Shield of Florida, Inc.; Blue Cross and Blue
Shield of Massachusetts, Inc.; BlueCross       John Martin
BlueShield of Tennessee, Inc.                  Lucile H. Cohen
                                               Travis A. Bustamante
                                               NELSON MULLINS RILEY &
Edward S. Bloomberg                            SCARBOROUGH LLP
John G. Schmidt                                1320 Main Street, 17th Floor
 Case 2:13-cv-20000-RDP Document 2735 Filed 06/01/21 Page 11 of 12




Anna Mercado Clark                         Columbia, SC 29201
PHILLIPS LYTLE LLP                         Tel: (803) 255-9421
One Canalside                              Fax: (803) 256-7500
125 Main Street                            john.martin@nelsonmullins.com
Buffalo, NY 14203                          lucie.cohen@nelsonmullins.com
Tel: (716) 847-8400                        travis.bustamante@nelsonmullins.com
Fax: (716) 852-6100
ebloomberg@phillipslytle.com               Counsel for Defendants Wellmark of
jschmidt@phillipslytle.com                 South Dakota, Inc. (Wellmark Blue
aclark@phillipslytle.com                   Cross and Blue Shield of South Dakota);
                                           Wellmark, Inc. (Wellmark Blue Cross
Stephen A. Walsh                           and Blue Shield of Iowa); Hawaii
WEINBERG, WHEELER, HUDGINS,                Medical Service Association (Blue
GUNN & DIAL                                Cross and Blue Shield of Hawaii);
100 Corporate Parkway                      Triple-S Salud, Inc.
One Lake Level
Birmingham, AL 35242
Tel: (205) 572-4107                        Kimberly R. West (Liaison Counsel)
Fax: (205) 572-4199                        Mark M. Hogewood
swalsh@wwhgd.com                           WALLACE, JORDAN, RATLIFF &
                                           BRANDT, LLC
Counsel for Defendant, Excellus Health     First Commercial Bank Building
Plan, Inc., d/b/a Excellus BlueCross       800 Shades Creek Parkway, Suite 400
BlueShield, incorrectly sued as Excellus   Birmingham, AL 35209
BlueCross BlueShield of New York           Tel: (205) 870-0555
                                           Fax: (205) 871-7534
                                           kwest@wallacejordan.com
                                           mhogewood@wallacejordan.com

                                           Counsel for Defendants Wellmark of
                                           South Dakota, Inc. (Wellmark Blue
                                           Cross and Blue Shield of South Dakota);
                                           Wellmark, Inc. (Wellmark Blue Cross
                                           and Blue Shield of Iowa); Hawaii
                                           Medical Service Association (Blue
                                           Cross and Blue Shield of Hawaii)
   Case 2:13-cv-20000-RDP Document 2735 Filed 06/01/21 Page 12 of 12




                              CERTIFICATE OF SERVICE

                I hereby certify that on June 1, 2021, the foregoing was electronically filed

with the Clerk of Court using the CM/ECF system, which will send notification of such

filing to all counsel of record.

                                                             /s/ Evan R. Chesler
                                                             Evan R. Chesler
